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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF MARYLAND

    RICHARD J. LEVINE, AS TRUSTEE OF
    THE LEVINE/BERENSON TRUST,
    Derivatively on Behalf of Emergent                    Case No. 8:23-cv-02969-DLB
    BioSolutions Inc.

       Plaintiff,

          v.

    ROBERT G. KRAMER, SR., et al.

       Defendants.


    CHRISTOPHER SEAVER, Derivatively on
    Behalf of Emergent BioSolutions Inc.
                                                          Case No. 1:23-cv-03408-MJM
       Plaintiff,

          v.

    ROBERT G. KRAMER, SR., et al.

       Defendants.



STIPULATION AND ORDER CONSOLIDATING ACTIONS, APPOINTING CO-LEAD
          AND LIAISON COUNSEL AND STAYING PROCEEDINGS

         The Plaintiffs1 and Defendants,2 by and through their respective undersigned counsel, on

       9th day of January, 2024, recite as follows:
this _____



1
 “Plaintiffs” refers to Richard J. Levine, as Trustee of the Levine/Berenson Trust, and Christopher
Seaver.
2
 “Defendants” refers collectively to nominal defendant Emergent BioSolutions Inc. (“Emergent”
or the “Company”) and individual defendants Robert G. Kramer, Sr., Syed T. Husain, the Estate
of Fuad El-Hibri, Sue Bailey, Zsolt Harsanyi, Richard S. Lindahl, the Estate of Jerome M. Hauer,
George A. Joulwan, Ronald B. Richard, Louis W. Sullivan, Kathryn C. Zoon, and Marvin White.
Defendants together with Plaintiffs are referred to herein as the “Parties.”

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        WHEREAS, Plaintiff Richard J. Levine, as Trustee of the Levine/Berenson Trust filed a

shareholder derivative complaint against Defendants on November 1, 2023 (the “Levine Action”);

        WHEREAS, Plaintiff Christopher Seaver filed a shareholder derivative complaint against

Defendants on December 15, 2023 (the “Seaver Action”);

        WHEREAS, both the Levine Action and Seaver Action stem from the same operative

facts, assert substantially similar claims against the same officers and directors, seek relief on behalf

of Emergent, and, unique to the Levine Action and Seaver Action, allege that Plaintiffs’ respective

pre-suit demands on Emergent’s Board of Directors were improperly refused;

        WHEREAS, the Parties agree that, to ensure the orderly litigation of these derivative cases

and to avoid duplication of efforts and unnecessary expenses, the Levine Action and the Seaver Action

should, pursuant to Fed. R. Civ. P. 42(a), be consolidated for all purposes (the “Consolidated Refused

Action”);

        WHEREAS, a putative class action alleging violations of the federal securities laws

against Emergent and individual defendants Kramer and Husain, based on similar facts and

allegations as the Consolidated Refused Action is pending in the United States District Court for

the District of Maryland, captioned In Re Emergent BioSolutions Inc. Securities Litigation, Case

No. 8:21-cv-00955-DLB (the “Federal Securities Action”);

        WHEREAS, a stockholder derivative action, captioned In Re Emergent BioSolutions Inc.

Derivative Litigation, Case No. 2021-0974-MTZ (the “Delaware Derivative Action”), was filed in

the Court of Chancery of the State of Delaware and is stayed pending resolution of the Federal

Securities Action;

        WHEREAS, a stockholder derivative action, captioned In Re Emergent BioSolutions Inc.

Derivative Litigation., Case No. 8:21-cv-02079-DLB (the “Maryland Federal Derivative Action”),

was filed in the United States District Court for the District of Maryland and is stayed pending the

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close of fact discovery in the Federal Securities Action;

       WHEREAS, a stockholder derivative action, captioned Elton v. Kramer, et al., Case No.

C-15-CV-21-000496 (the “Maryland State Derivative Action”) was filed in the Circuit Court for

Montgomery County, Maryland and is stayed pending the close of fact discovery in the Federal

Securities Action; and

       WHEREAS, the Parties agree that a stay of the Consolidated Refused Action on the terms

set forth below is appropriate to promote efficiency, effective case management, and conservation

of judicial and litigant resources;

       IT IS HEREBY STIPULATED AND AGREED by the Parties hereto, subject to

approval of the Court, as follows:

I.     CONSOLIDATION

       1.      The following actions are hereby related and consolidated for all purposes,

including pre-trial proceedings and trial:

         Abbreviated Case Name           Case Number                 Date Filed

         Levine v. Kramer, et al.        8:23-cv-02969-DLB           11/1/23

         Seaver v. Kramer, et al.        1:23-cv-03408-MJM           12/15/23


II.    CAPTION OF CASES

       2.      Every pleading henceforth filed in the Consolidated Refused Action, or in any

separate action included herein, shall bear the following caption:

                              UNITED STATES DISTRICT COURT

                                      DISTRICT OF MARYLAND

 IN RE EMERGENT BIOSOLUTIONS INC.
 DEMAND REFUSED STOCKHOLDER
 DERIVATIVE LITIGATION                               Master File No. 8:23-cv-02969-DLB


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                                                       (Consolidated with 1:23-cv-03408-MJM)
 This Document Relates To:

                 ALL ACTIONS

       3.      The files of the Consolidated Refused Action shall be maintained in one file under

Master File No. 8:23-cv-02969-DLB.

       4.      Any other demand refusal shareholder actions now pending or hereafter filed in or

transferred to this Court which arise out of the same procedural posture or similar facts as alleged

in the above-identified cases may be consolidated for all purposes with these consolidated actions

upon motion to the Court.

III.   ORGANIZATION OF COUNSEL

       5.      Co-Lead Counsel for Plaintiffs in the Consolidated Refused Action are:

        Schubert Jonckheer & Kolbe LLP                 The Weiser Law Firm, P.C.
        Robert C. Schubert                             James M. Ficaro
        Willem F. Jonckheer                            200 Barr Harbor Dr., Suite 400
        2001 Union Street, Suite 200                   West Conshohocken, PA 19428
        San Francisco, CA 94123                        (610) 225-2677 (phone)
        (415) 788-4220 (phone)                         jmf@weiserlawfirm.com
        rschubert@sjk.law
        wjonckheer@sjk.law


       6.      Plaintiffs’ Co-Lead Counsel shall have authority to speak for Plaintiffs in matters

regarding pre-trial procedure, trial, and settlement negotiations and shall make all work

assignments in such manner as to facilitate the orderly and efficient prosecution of this litigation

and to avoid duplicative or unproductive effort.

       7.      Plaintiffs’ Co-Lead Counsel shall be responsible for coordinating all activities and

appearances on behalf of Plaintiffs and for the dissemination of notices and orders of this Court.

No motion, request for discovery, or other pre-trial or trial proceedings shall be initiated or filed

by any Plaintiffs except through Plaintiffs’ Co-Lead Counsel.


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       8.      Plaintiffs’ Co-Lead Counsel also shall be available and responsible for

communications to and from this Court, including distributing orders and other directions from the

Court to counsel. Co-Lead Counsel shall be responsible for creating and maintaining a master

service list of all Parties and their respective counsel. Service on Co-Lead Counsel shall be

sufficient as notice to Plaintiffs in Consolidated Refused Action.

       9.      Liaison Counsel for Plaintiffs for the conduct of these the Consolidated Refused

Action is:

                               THE KAPLAN LAW FIRM PLLC
                                      Matthew B. Kaplan
                                 1100 N Glebe Rd, Suite 1010
                                     Arlington, VA 22201
                                    (703) 665-9529 (phone)
                                Mbkaplan@thekaplanlawfirm.com

       10.     Liaison Counsel shall be available and responsible for communications to and from

this Court, including distributing orders and other directions from the Court to counsel, and shall

be responsible for communication with defendants’ counsel on matters of case administration and

scheduling.

       11.     Defendants take no position as to the appointment of Co-Lead or Liaison Counsel

and expressly preserve all of their rights and defenses.

       12.     Defendants’ counsel may rely upon all agreements made with Plaintiffs’ Co-Lead

and Liaison Counsel, or other duly authorized representative of Plaintiffs' Co-Lead and Liaison

Counsel, and such agreements shall be binding on all Plaintiffs.

IV.    STAY OF PROCEEDINGS

       13.     The Consolidated Refused Action, including all deadlines, hearings, conferences,

and Defendants’ responses to the complaints filed in the Levine Action and Seaver Action, shall

be stayed until the close of fact discovery in the Federal Securities Action.


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        14.    In the event any related derivative action, including the Delaware Derivative

Action, the Maryland Federal Derivative Action, and the Maryland State Derivative Action are not

stayed for the same or longer duration as the stay of this Action, Plaintiffs may terminate the stay

upon thirty (30) days’ written notice to Defendants.

        15.    Subject to the entry of a protective order in the Consolidated Refused Action,

Defendants shall promptly provide Plaintiffs: (a) copies of all discovery produced in the Federal

Securities Action in the form and manner in which such documents are produced in the Federal

Securities Action; (b) copies of all of Defendants’ written discovery responses served in the

Federal Securities Action, including all privilege logs; and (c) all deposition transcripts and marked

exhibits in the Federal Securities Action except to the extent confidentiality restrictions on such

transcripts prevent Defendants from producing them.3 Emergent will provide the materials set

forth in this paragraph to Plaintiffs within ten (10) business days of producing or serving them in

the case of (a) and (b), and within fifteen (15) business days of receiving the final transcript in the

case of (c).

        16.    In the event that any documents are produced in the Delaware Derivative Action,

the Maryland Federal Derivative Action, the Maryland State Derivative Action, or in response to

any related stockholder demand or informal request to inspect corporate books and records, and/or

to any other Emergent stockholder who has filed a stockholder derivative action on behalf of the

Company, based on the same or a similar set of facts as those alleged in the Consolidated Refused

Action during the pendency of the stay set forth herein, Defendants agree to produce those



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  For any document, transcript, or other materials withheld based on the claim of confidentiality,
Defendants shall provide a privilege log identifying the material withheld and the basis for the
claim of confidentiality within the timeframe provide for all other materials as set forth in
paragraph 15.


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documents to Plaintiffs in the Consolidated Refused Action, to the extent such documents have

not already been produced to Plaintiffs and subject to the entry of a protective order in the

Consolidated Refused Action.

       17.     If, during the pendency of the stay set forth herein, Defendants engage in mediation

in the Federal Securities Action, the Delaware Derivative Action, the Maryland Federal Derivative

Action, the Maryland State Derivative Action, or in any related derivative action, Defendants agree

to provide Plaintiffs with reasonable advance notice of such mediation and to invite Plaintiffs to

said mediation or to mediate with Plaintiffs at or about the same time. If Defendants provide

documents to the plaintiffs in the Federal Securities Action, the Delaware Derivative Action, the

Maryland Federal Derivative Action, the Maryland State Derivative Action, or related derivative

action, in connection with a mediation, Defendants agree to provide, within ten (10) days of

production, but no later than three (3) days before such mediation, the same documents to Plaintiffs

in the Consolidated Refused Action on the same terms they are provided to plaintiffs in the Federal

Securities Action, the Delaware Derivative Action, the Maryland Federal Derivative Action, the

Maryland State Derivative Action, or related derivative action, as appropriate. Provided, however,

that the obligations in this paragraph shall be contingent on Plaintiffs’ agreement to and

compliance with any conditions of such mediation, including confidentiality, and payment of their

pro rata share of mediation costs.

       18.     Notwithstanding the stay of the Consolidated Refused Action, Plaintiffs may file a

consolidated complaint, though no Defendant shall be under any obligation to respond to it during

the pendency of the stay.

       19.     Within thirty (30) days of the occurrence of either of the events identified in

Paragraphs 13 and 14, the Parties shall meet and confer concerning a schedule for further



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proceedings in the Consolidated Refused Action, including the designation of an operative

complaint or the deadline for filing a consolidated complaint, and will submit a proposed schedule

for the Court’s consideration.

        20.      Nothing herein shall be construed as a waiver of any Party’s rights or positions in

law or in equity, or as a waiver of any defenses that any Party would otherwise have, and the

Parties reserve all such rights.

        21.      This Stipulation may be filed, without further notice, with the Clerk of the Court

and may be executed in counterparts and that a facsimile copy of this Stipulation be deemed an

original.



                                     [Signature Page Follows]




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Counsel for Plaintiffs



                                          Counsel      for    Defendants    Emergent
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                                          Sue Bailey, Zsolt Harsanyi, Richard S.
                                          Lindahl, the Estate of Jerome M. Hauer,
                                          George A. Joulwan, Ronald B. Richard, Louis
                                          W. Sullivan, and Kathryn C. Zoon


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                                   Counsel for Defendant Syed T. Hussain

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                                          Counsel for Defendant Robert G. Kramer, Sr.




                                          IT IS SO ORDERED:

Dated: January 16, 2024
       ____________                       ________________________________
                                          U.S. District Judge
                                          Deborah L. Boardman




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